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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DISTRICT

MICHELLE TURNEY,                            )
                                            )
                               Plaintiff,   )
                                            )
       v.                                   )   Case No. 21-cv-04205
                                            )
CITY OF CHICAGO,                            )   Honorable Robert W. Gettleman
                                            )
                               Defendant.   )   Magistrate Judge Jeffrey Cole

                      MOTION TO VOLUNTARILY DISMISS

       The Plaintiff MICHELLE TURNEY moves this Court, pursuant to Rule 41(a) of

the Federal Rules of Civil Procedure, to voluntarily dismiss her amended complaint

without prejudice. On March 22, 2022, the Plaintiff’s attorney spoke to Scott Crouch,

attorney for the Defendant CITY OF CHICAGO, who indicated that the Defendant had

no objection to this motion.

       WHEREFORE, the Plaintiff requests that this Court enter an order dismissing her

amended complaint without prejudice and without costs. The Plaintiff further requests

that this Court award her such other relief as this Court may deem appropriate.

                                                       Respectfully submitted,


                                                       /s/ Joel F. Handler
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                                                       MICHELLE TURNEY
